                       Case 5:21-cv-06099-VKD Document 5 Filed 08/10/21 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Northern District
                                                __________  District of
                                                                     of California
                                                                        __________

                 FERNANDO GASTELUM
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 5:21-cv-06099-VKD
                                                                                          5:21-cv-05955-VKD
                                                                 )
            Bmv  HotelsCANCIAMILLA,
            ANTHONY     LP dba         et al.                    )
            Best Western Plus Forest Park Inn                    )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bmv  HotelsCANCIAMILLA,
                                   ANTHONY      LP dba         et al.
                                   Best WesternAnthony
                                   Canciamilla   Plus Forest Park Inn
                                                        Trustee
                                   c/o-
                                   1315NATVER      PATEL
                                        Hillcrest Drive
                                   11645 SANCA
                                   San Jose,   PABLO
                                                  95120 AVENUE
                                   EL CERRITO CA 94530


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Fernando Gastelum
                                       209 W. 9th St
                                       Casa Grande, AZ 85122




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                        Case 5:21-cv-06099-VKD Document 5 Filed 08/10/21 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 5:21-cv-05955-VKD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
